               Case 4:05-cr-40022-JPG                        Document 100 Filed 10/31/05                     Page 1 of 6          Page ID
                                                                       #181
%A0 245B      (Rev. 06/05) Judgment in aCrimillll Case
              Sheet 1




                        SOUTHERN                                        District of                                  ILLINOIS

          UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                                    v.
               MICHAEL JOHN EASLEY
                                                                              Case Number:           4:05CR40022-004-JPG

                                                                              USM Number:            06681 -025

                                                                               Robert 0 Crego
                                                                              Defendant's Attorney
THE DEFENDANT:
dpleaded gull@ to count(s)                  1 of the lnd~ctrnent
                                                                                                                                           Y

   pleaded nolo contendere to count(s)
   wh~chwas accepted by the court
   was found gull@ on count(s)
   after a plea of not gutlty

The defendant is adjudicated guilty of these offenses:

Title & Section                          Nature of Offense                                                        Offense Ended
                  .,         r:..
                   .._.,.   .i.




                                          & Distribution of 500 warns or More of Metharn~hetarnine



       The defendant is sentenced as provided in pages 2 through                  10         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0The defendant has been found not guilty on count(s)
   Count(s)                                                        is   0 are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 da s of any chan e of name, residen
or mailing address until,all lines, rcstitution,,costs, and speclal assessme~pimposcd by this judgnqt arc fully paid. lf o d r e d to pay rcstitutio
the dolendant must not~tythe coun and llnlted States attorney ot matcrtal changes in economlc clrcumstances.




                                                                               J . Phil Gilbert, District Judge
                                                                              Name of*                                    Title of Judge
                  Case 4:05-cr-40022-JPG                 Document 100 Filed 10/31/05                     Page 2 of 6        Page ID
                                                                   #182
A 0 245B      (Rev. 06/05) Judgment in Criminal Case
              Sheet 2 - lmpnsoment
                                                                                                         Judgmm-Page       2of        10
 DEFENDANT: MICHAEL JOHN EASLEY
 CASE NUMBER: 4:05CR40022-004-JPG

                                                               IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

  188 months. This sentence shall run concurrently to t h e remainder of the undischarged term of imprisonment in case numb
  04-CF-43 in Johnson County. IL.


      i$ The court makes the following recommendations to the Bureau of Prisons:
  That the defendant b e placed in the Intensive Drug Treatment Program.



      i$ The defendant is remanded to the custody of the United States Marshal.
      0 The defendant shall surrender to the United States Marshal for this district:
           0 at                                         a.m.         p.m.     on
           17 as notified by the United States Marshal.
           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                before 2 p.m. on
                as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                          to

 at                                                    , with a certified copy of this judgment.



                                                                                                      UNITED STATES MARSHAL


                                                                            BY
                                                                                                   DEPUTY UNITED STATES MARSHAL
                 Case 4:05-cr-40022-JPG                  Document 100 Filed 10/31/05                     Page 3 of 6         Page ID
                                                                   #183
A 0 2458      (Rev. 06105) Judgment in a Criminal Case
              Sheet 3 -Supervised Release
                                                                                                           Judgment-Page      3     of          10
 DEFENDANT: MICHAEL JOHN EASLEY
 CASE NUMBER: 4:05CR40022-004-JPG
                                                         SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall he on supervised release for a term of:

  5 years on Count 1 of the Indictment.



      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from th
 custody of the Bureau of Pnsons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfull possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 suh~tance.I h e defendant shall suhnit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the coun.
      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
      future substance abuse. (Check, if applicable.)
 B( The defendant shall not possess a fuearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 B( The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
      student, as directed by the probation officer. (Check, if applicable.)
      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a fme or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule ofl~aymentssheet of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional condition
 on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
           the defendant shall not leave the judicial district without the permission of the court or probation officer;
           the defendant shall report to the probation officer and shall submit a truthful and complete written report within the fust five days
           each month;
           the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
           the defendant shall support his or her dependents and meet other family responsibilities;
           the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or nth
           acceptable reasons;
           the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
           the defendant shall refraii 60m excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a phys~c~an;
           the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
           the defendant shall not associate with any persons en aged in crimimal activity and shall not associate with any penon convicted of
           felony, unless granted permission to do so by the pro%attonofiicer;
           the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of an
           contraband observed in plain view of the probatmn officer;
           the defendant shall notify the probation officer withim seventy-two hours of being arrested or questioned by a law enforcement office
           the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without th
           permission of the court; and
           as directed by the robation officer, the defendant shall notify.third parties of risks that may be occasion@ by the defendant's crimin
           record or           history or characteristics and shall permlt the probation officer to make such not~ficatmnsand to confum th
           defendant s compliance with such not~ficatmnrequirement.
            Case 4:05-cr-40022-JPG                    Document 100 Filed 10/31/05          Page 4 of 6       Page ID
A 0 2458   (Rev. 06/05) Judgment in a Criminal Case             #184

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DEFENDANT: MICHAEL JOHN EASLEY
CASE NUMBER: 4:05CR40022-004-JPG

                                         SPECIAL CONDITIONS OF SUPERVISION
 The defendant shall participate in a program of mental heath treatment, as directed by the probation officer, until such time
 as the defendant is released from the program by the probation officer.

   The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supelvised release. The defendant shall pay the fine in installments of $20.00 or ten
 percent of his net monthly income, whichever is greater.

   The defendant shall apply all monies received from income tax refunds, lottery winnings, judgment, andlor any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation ofticer of the receipt of any indicated monies.

   The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence andlor participation in a residential treatment facility. Any participation will require complete abstinence from all
 alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling andlor testing
 based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
 costs of counseling.
                 Case 4:05-cr-40022-JPG                Document 100 Filed 10/31/05                        Page 5 of 6           Page ID
A 0 245B   (Rev. 06105) Judgment in a Criminal Case              #185
           Sheet 5 -Criminal Monetary Penalties


 DEFENDANT: MICHAEL JOHN EASLEY
                                                                                                                         -                              10

 CASE NUMBER: 4:05CR40022-004-JPG
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                                    -
                                                                     Fine                                     Restitution
TOTALS               $ 100.00                                      $ 750.00                               $ 0.00



     The determination of restitution is deferred until   -. An Amended Judgment in a CrIminal Case (A0 245C) will be enter
     after such determination.

     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified otherwise
     the pnorlty order or percentage payment columnielow. However, pursuant to 18 $s.& $ 3 6 6 4 0 , all nonfederal victnns must be p
     before the United States is pa~d.

Name of Pavee                                                                               Reslilution Ordered          Priorih or Percentape
                 ,                                                                    . .                                      . . . . :' .
           . .                                                           .    .                                      .     . .. . . . . .
                                                                                                                          _..       '
                                   . .                                                              . .   .   .                 >
                                                                                                                                        , . /      . . ._
                                                                                                                                                . < .   ,.




TOTALS                                   $                  0.00         $                       0.00


      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fme is paid in full before the
      tifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(0. All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

@f The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      @ the interest requirement is waived for the        @ fme         restitution.
           the interest requirement for the           fme  17 restitution is modified as follows:

* Findimgs for the total amount of losses are re uired under Chapters 109A, 110,l IOA, and 1 13A of Title 18 for offenses committed on or aft
September 13, 1994, but before Apnl23,199%.
              Case 4:05-cr-40022-JPG                  Document 100 Filed 10/31/05                     Page 6 of 6          Page ID
A.
 n 24SR
   --                     -
           (Rev 06/05),Iudmnent in a Criminal Case
           Sheet 6 -Schedule of Payments
                                                                #186
                                                                                                        Judgment- Page      6     of         10
DEFENDANT: MICHAEL JOHN EASLEY


                                                     SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A     @ Lump sum payment of $                               due immediately, balance due

                 not later than                                 , Or
                 in accordance                C,      D,          E, or         F below; or
B          Payment to begin immediately (may be combined with              C,          D, or       F below); or

C          Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D         Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E          Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    @f    Special instructions regarding the payment of criminal monetary penalties:
           While on ~ L I p e ~ i s erelease,
                                      d       the defendant shall make monthly payments in the amount of $20.00 or ten percent
           of his net monthly income, whichever is greater.



Unless the court has express1 ordered otherwise. if this jud ment imposes imprisonment, a ent of criminalmonetary penalties is due durin
unprlsonment. All cnmlna monet Y        penalties, except fhose payments made thou$ G F e d e r a l Bureau of Pnsons' Inmate Financ~
Responsibility Program, are made toage clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



     Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and comesponding payee, if appropriate.




     The defendant shall pay the cost of prosecution.

0 The defendant shall pay the following court cost@):
     The defendant shall forfeit the defendant's interest in the following property to the United States:




                                                      1.
Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
(5) fme interest, (6) community restitution, (7) pena tles, and (8) costs, includmg cost of prosecution and court costs.
